              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                    No. 12-cv-1349
                        Plaintiff;
         v.                                         UNITED STATES’ MEMORANDUM IN
                                                    OPPOSITION TO DEFENDANT’S
 Terry Johnson, in his official capacity as         MOTION TO COMPEL
 Alamance County Sheriff,
                        Defendant.



   UNITED STATES’ MEMORANDUM IN OPPOSITION TO DEFENDANT’S
                     MOTION TO COMPEL

       The United States respectfully asks the Court to deny Defendant’s Motion to

Compel, ECF No. 25. In response to Defendant’s 17 interrogatories seeking the identities

of potential witnesses, the United States withheld the names of only three individuals

who particularly fear that Defendant will retaliate against them or their families for

giving the Department of Justice (“DOJ”) information about the Alamance County

Sheriff’s Office’s (“ACSO”) pattern of targeting Latinos with enforcement activities in

violation of 42 U.S.C. § 14141 (“Section 14141). Preserving the confidentiality of

informants is integral to DOJ’s ability to enforce Section 14141 by gathering accurate

information about law enforcement agencies. In this case, current and former ACSO

officers and community members fear retaliation from the Defendant and agreed to speak

with DOJ personnel only after taking elaborate steps to ensure their confidentiality. See

Am. Compl. ¶ 50, United States v. Alamance Cnty, No. 11-cv-507 (M.D.N.C. 2011).




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         Despite precedent requiring the disclosure of informer identities only shortly

before their appearances as trial witnesses, the United States has offered to furnish the

identities of the informants sought by Defendant’s interrogatories if those informants will

testify at trial, and has committed to making such disclosures within the time prescribed

for fact discovery in this case. The disclosure timetable the United States proposes is

more generous than the established parameters of the informant privilege, which

generally requires disclosure, if at all, only “shortly before and during the trial of an

actual enforcement proceeding.” United States v. Hemphill, 369 F.2d 539, 542 (4th Cir.

1966).

         Absent any authority supporting Defendant’s request for the immediate disclosure

of the identities of informers who may never testify at trial, Defendant cannot overcome

the presumption against disclosure in the face of the government’s properly asserted

informant’s privilege. See Decl. of Deputy Assistant Attorney General Gregory B. Friel,

attached as Exhibit A. Defendant has not cited any substantial need or prejudice

sufficient to overcome the public’s interest in protecting government informants against

potential retaliation and promoting the important law enforcement objectives that have

animated the informant privilege since its development in English common law. See id;

Dole v. Local 1942, 870 F.2d 368, 372 (7th Cir. 1989) (“The party opposing the privilege

may overcome it upon showing his need for the information outweighs the government's

entitlement to the privilege.”). Accordingly, this Court should deny Defendant’s Motion

to Compel.

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                                    BACKGROUND

       On August 14, 2012, the United States filed suit against Alamance County Sheriff

Terry Johnson, alleging that ACSO engages in a pattern or practice of intentionally

discriminatory policing that targets Latinos in Alamance County, in violation of 42

U.S.C. § 14141. The United States’ Complaint alleges that Defendant Johnson uses

derogatory terms to describe Latinos, and his office discriminates against Latinos through

various law enforcement activities, including traffic stops, vehicle checkpoints, and jail

booking procedures. See Compl., ECF No. 1, at ¶¶23-67). During the United States’

investigation of these allegations, individuals in the community and ACSO personnel told

the United States that they fear retaliation from Defendant Johnson for cooperating with

the investigation. Several current or former ACSO officers agreed to meet with the

United States only after taking elaborate measures to protect their confidentiality. See

Menschel & Rodríguez Decl., United States v. Alamance Cnty., No. 11-cv-507

(M.D.N.C.), ECF Nos. 19-31 & 19-32. Certain community members similarly expressed

fear for the well-being and safety of their family members if ACSO knew their identities.

       Discovery in this matter began earlier this year. The United States and Sheriff

Johnson (“the Parties”) reached a Rule 26(f) discovery agreement on January 30, 2013,

ECF No. 8; agreed to a separate Stipulation and Order Regarding Discovery on March

15, 2013; ECF Nos. 14 and 16, and exchanged initial disclosures on March 7, 2013. The

United States’ Initial Disclosures explain that certain information in its possession was

provided by individuals subject to the informant privilege. The United States revealed

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the categories of such information, withheld the identity of the informants, and

committed that “[t]o the extent necessary for case preparation, the United States will

disclose [identity] subject to appropriate protective measures negotiated with Defendant’s

counsel.” U.S. Initial Disclosures, Exhibit B, at 1-2. The Parties subsequently entered

into a Joint Confidentiality and Protective Order, ECF No. 18, and counsel for the United

States provided multiple assurances to Defendant’s counsel that the United States will:

(1) disclose the identity of any individual whom the United States will use as a witness in

this matter; and (2) that disclosure will occur sufficiently in advance of trial to allow

Defendant to depose the witness.

       On March 21, 2013, Defendant Johnson propounded 24 interrogatories to the

United States, see Exhibit C, and the United States provided a timely response on April

24, 2013, see Exhibit D and U.S. Supplemental Response, Exhibit E. The Parties agree

that the United States fully responded to 21 of the 24 interrogatories. The United States

provided the underlying information sought by Defendant for the remaining three

interrogatories, but withheld the identity of individuals who provided the information

pursuant to the informant privilege. Defendant objects to the United States’ response to

these three remaining interrogatories. Specifically, the United States withheld the

following information sought by Defendant:

          • Interrogatory 14: the identity of a Latina passenger told by an ACSO

              deputy during a traffic stop “Mexican go home”;



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          • Interrogatory 15: the identities of Latino individuals whom an ACSO

              deputy instructed to fix a window, “or we’re going to come back and deport

              you all”; and

          • Interrogatory 16: the identity of the officer who informed the United States

              that ACSO detention officers “used the terms ‘wetback’ and ‘spic’ to refer

              to Latino individuals.”

       Both in its interrogatory responses and in subsequent conversations with

Defendant’s counsel, the United States reiterated that it will disclose the identities of any

individuals covered by these interrogatories who will serve as witnesses in this case, and

will do so in time for Defendant to depose the witnesses. Further, the United States

advised Defendant that the individuals whose identities are currently withheld are

unlikely to testify in this litigation. Nonetheless, Defendant demands that the United

States disclose the identities of its informants immediately. See generally, Def’s Mot. to

Compel, ECF No. 25.

                                        ANALYSIS

       The United States’ decision to withhold the identities of informants during early

stages of discovery fits within the established contours of the informant privilege. “The

qualified privilege of withholding the names and statements of informants has been

repeatedly and consistently upheld by the Courts.” Hemphill, 369 F.2d at 542; see also

Hoffman v. Reali, 973 F.2d 980, 987 (1st Cir. 1992) (“the state is normally entitled to

refuse to disclose the identity of a person who has furnished information relating to an

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investigation of a possible violation of law”); Mitchell v. Roma, 265 F.2d 633, 635 (3d

Cir. 1959) (“The privilege for communications by informers to the government is well

established and its soundness cannot be questioned.”).

          The informant privilege furthers the public interest in effective law enforcement,

Roviaro v. United States, 353 U.S. 53, 59 (1957), and is premised upon “the common-

sense notion that individuals who offer their assistance to a government investigation

may later be targeted for reprisal from those upset by the investigation.” Dole, 870 F.2d

at 372; see also Deposition of ACSO officer                                         ), June 17,

2013, at 195: 15-17 (“Q: Are people worried that if they say something that is perceived

as hurtful to Sheriff Johnson that they could lose their jobs? A: I'm one of them.”).

Because of “the significant policy consideration behind the privilege,” the United States

is not required to show that “reprisal or retaliation is likely.” Id.; see also In re Search of

1638 E. 2nd Street, 993 F.2d 773, 775 (10th Cir. 1993) (same); cf. Brock v. On Shore

Quality Control Specialists, 811 F.2d 282, 284 (5th Cir. 1987) (“‘[t]he purpose of

allowing the informers privilege . . . is to make retaliation impossible’”) (alteration in

original). Rather, the United States may assert the privilege “as of right.” Dole, 870 F.2d

at 372.

          To assess privilege claims, courts balance the public interest in protecting

informants from retaliation 1 and enforcing federal law against a defendant’s need to


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 Defendant does not contest that the individuals whose identities are withheld by the
United States are proper subjects of the informant privilege. Interrogatory 16 seeks the
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prepare for trial. Brock, 811 F.2d at 283-84. Under this analysis, “the government’s

interest is more likely to prevail in civil cases . . . because the countervailing

constitutional guarantees assured to criminal defendants are not present.” Elnashar v.

Speedway SuperAmerica, LLC, 484 F.3d 1046, 1053 (8th Cir. 2007); see also In re

Kleberg Cnty., Texas, 86 F. App’x 29, 32 (5th Cir. 2004) (in civil cases “the privilege is

stronger” because protections for criminal defendants “do not apply”); In re Search of

1638 E. 2nd Street, 993 F.2d at 775 (same); Dole, 870 F.2d at 372 (same).

       Courts mediate these competing interests by requiring disclosure of informant

identity, if at all, only during or shortly before trial. See, e.g., Hemphill, 369 F.2d at 542

(“The qualified privilege must give way shortly before and during the trial of an actual

enforcement proceeding to the extent that fairness requires . . . .”); see also Wirtz v.

B.A.C. Steel Prods., Inc., 312 F.2d 14, 16 (4th Cir. 1962) (holding that during discovery

the government could refuse to answer interrogatories seeking the identity of informants

who provided information about Fair Labor Standards Act violations); United States v.



identity of a current or former ACSO officer. The Fourth Circuit explained in Wirth v.
B.A.C. Steel Products that employees are proper subjects of the informant privilege
because “[t]he average employee . . . is keenly aware of his dependence upon his
employer’s good will . . . . Only by preserving . . . anonymity can the government obtain
the information necessary” to enforce federal statutes. 312 F.2d 14, 16 (4th Cir. 1962).
The informant privilege likewise protects the identities of the Latino individuals targeted
by ACSO enforcement activities described by Interrogatories 14 and 15. Cf. Roviaro,
353 U.S. at 59 (informant privilege preserves anonymity for “citizens” with “knowledge”
of wrongdoing). While the United States is not required to show that retaliation against
its informants is likely, see supra at 4-5, ACSO officers have threatened the Latino
individuals described by Interrogatories 15 and 16, including with threats of deportation.
See Compl., ECF No. 1, at ¶ 33(b).
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Bond, No. 10-cr-117, 2010 WL 6749142, at *3 (E.D. Wisc. Dec. 6, 2010) (disclosure of

informants not required until 30 days prior to trial); United States v. Lakin, No. 3:07-cr-

20068, 2007 WL 2554141, at *3 (S.D. Ill. Aug. 29, 2007) (ordering disclosure two to five

days prior to trial). Early disclosure is disfavored in part because the government may

elect not to rely on the informants at trial, rendering disclosure unnecessary. See

Mitchell, 265 F.2d at 637. In Mitchell, the Third Circuit explained that the government

“may rely on the defendants’ books alone without using any of the 85 [informants] as

witnesses, or it may use but one or two of them as witnesses, thus avoiding ultimate

disclosure of the identity of some or all of the informers. Until such time, we can see no

reason why the identity of the informers . . . is essential to ensure a fair trial.” Id.

       The informant disclosure schedule proposed by the United States here affords

Defendant greater opportunity to prepare its defense than is required. While the authority

discussed above generally shields informant identity from disclosure until at least the eve

of trial, the United States has offered to disclose any testifying informants sought by

Defendant’s interrogatories within the time period for taking depositions in this case.

That period currently ends on September 6, 2013 – nine months prior to the scheduled

trial date of July 7, 2014. ECF No. 22. Under these circumstances, the public interest in

protecting informants from retaliation and facilitating law enforcement outweighs any

modest delay to Defendant’s case preparation.

       This principle applies with particular force here, where Defendant already

possesses the information needed to prepare a defense. Indeed, Defendant possesses

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nearly all of the information – including records of traffic stops and other enforcement

activities – relevant to the United States’ discriminatory policing allegations. In similar

circumstances, the Fourth Circuit held that the informant privilege shielded federal

attorneys from disclosing the identity of current and former employee informants where

the allegations centered on records possessed by the defendant company. B.A.C. Steel

Prods., 312 F.2d at 16 (“The only information which the defendants did not have” was

“which of the present and former employees had informed against them . . . . It is this

very information which is protected under the ‘informer’s privilege.’”). Regardless, the

United States has offered to disclose the information sought by Defendant’s

interrogatories earlier than is required, affording Defendant ample time to prepare its

defense. Accordingly, this Court should deny Defendant’s Motion to Compel.

                                          *       *     *

       Defendant does not distinguish – or even acknowledge – most of the authority

supporting the United States’ proposed disclosure mechanism. Rather, Defendant asserts

that (1) it “did not request the identity of any confidential informants,” but rather merely

sought “to ascertain the persons present” during certain incidents, Mot. to Compel at 3;

and (2) there is no risk of retaliation because “only the Defendant and his attorneys would

be privy to the information,” Mot. to Compel at 4. These arguments are unavailing.

       First, the information sought in Defendant’s request is covered by the informant

privilege because it would “tend to disclose” the identities of the United States’

informants. Hodgson, 459 F.2d at 307 (government need not disclose which of its

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witnesses had previously provided written statements because that would “allow the

defendant to discover which of its employees had informed against it,” and “this is the

exact information that the privilege protects”). Here, Defendant’s interrogatories seek the

identity of persons present during certain incidents, including two law enforcement

actions targeting Latino community members and ACSO officers transporting Latino

detainees between the courthouse and the Alamance County Jail. For each of these

incidents, the United States is not aware of the identities of any individuals who were

present except for its informants. Consequently, disclosing the identities of these

individuals would necessarily reveal the source of the United States’ information. “It is

this very information which is protected under the ‘informer’s privilege.’” B.A.C. Steel

Prods., 312 F.2d at 16. Likewise, given the information already in Defendant’s position,

revealing additional information, such as the location of the traffic stop in Interrogatory

No. 14, would also reveal the identity of the informant.

       Second, Defendant’s contention that “only the Defendant and his attorneys” would

know the identity of the United States’ informants provides neither comfort to the

informants nor a legal basis for compelling disclosure. Indeed, “the welfare of forthright

citizens should not lie in the care of counsel neither known nor trusted by them.” Dole,

870 F.2d at 375. Moreover, the United States’ informants fear retaliation from the

Defendant himself, who has the power to take adverse employment actions against them

and order law enforcement operations targeting them. See generally Dole, 870 F.2d at

372 (“The threatened reprisal may be physical, but the privilege also recognizes the

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subtler forms of retaliation such as blacklisting, economic duress and social ostracism.”);

Mitchell, 265 F.2d at 637 (federal government could refuse to answer interrogatories

seeking informant identity because statutory prohibitions on retaliation provide “little

comfort”); see also              Tr. at 196: 1-2 (officers worried about retaliation because

they “work for a man who has the authority to fire you because he don't like you”).

Regardless, Defendant’s argument furnishes no grounds to grant the Motion to Compel

because the informant privilege does not require a showing that actual retaliation is likely

to occur. See supra at 5.

                                     CONCLUSION

       For the foregoing reasons, the United States respectfully asks this Court to deny

Defendant’s Motion to Compel.



       Respectfully submitted,


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                           CERTIFICATE OF SERVICE

       I certify that the foregoing United States’ Memorandum in Opposition to
Defendant’s Motion to Compel was served through the electronic filing service on July 1,
2013, to the following individual:

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